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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

KERSTIN SHINN                 *                      CIVIL ACTION
                              *                            NO. 10-2890
                              *
versus                        *                      SECTION B
                              *                           JUDGE LEMELLE
                              *
OCHSNER HEALTH SYSTEM         *                      DIVISION 4
** ** ** ** ** ** ** ** ** ****                            MAGISTRATE ROBY

       MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO STRIKE
                      AFFIRMATIVE DEFENSES

       MAY IT PLEASE THE COURT

       Plaintiff Kersten Shinn (Shinn) filed her Complaint on September 1, 2010 (Rec. Doc. 1)

and her First Amended Complaint on September 8, 2010 (Rec. Doc. 4). On October 27, 2010,

Defendant Ochsner Health System (Ochsner) filed its Answer (Rec. Doc. 6). Shinn challenges

the following defenses asserted by Ochsner under Federal Rule of Civil Procedure 8(c):

       1. Ochsner, inter alia, claims that Plaintiff has failed to mitigate her damages.

       2. Ochsner claims that it “made a good faith effort to prevent retaliation, discrimination

           and harassment in the workplace and to comply with the law.”

       3. Plaintiff’s claim for damages is subject to limitation and caps.

       4. Plaintiff’s claims not made the subject of a “charge” are time barred.

       5. Plaintiff’s claims are barred where they exceed the scope of charges filed with the

           Louisiana Commission on Human Rights and Equal Employment Opportunity

           Commission.

       6. Ochsner claims limitation of recovery on any future discovered after-acquired

           evidence.

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       7. Ochsner claims that Plaintiff was not a qualified individual with a disability and did

           not request a reasonable accommodation.

       8. Ochsner claims it would have taken the same challenged action in the absence of any

           impermissible motivating factor.

       Although Defendant lists its affirmative defenses, Ochsner does not convey the grounds

for these defenses. Plaintiff has not been placed on notice of Defendant’s grounds for raising its

defenses. Under Rule 12(f), a court may strike from a pleading an insufficient defense. Fed. R.

Civ. P. 12(f). Because affirmative defenses are pleadings, they are governed by Rule 8’s

requirement of a short and plain statement of the defense. Heller Financial, Inc. v. Midwhey

Powder Co., Inc., 883 F.2d 1286, 1294, citing Fed. R. Civ. P. 8(a); see also Fed. R. Civ. P.

8(b)(1)(A) (defendant must “state in short and plain terms its defenses”).

       Although a motion to strike pleadings or affirmative defenses is generally disfavored

because it consumes scarce judicial resources, a pleading or affirmative defense may be stricken

if it fails to give the opposing party fair notice of the defense and the non-moving party’s

grounds for the claim. Bell Atlantic Corp. v. Twombly, 127 S.Ct. 1955, 1964-65 (2007). But,

unsupported, conclusory allegations are insufficient to meet the Rule 8 standard and must be

stricken. Heller Financial, 883 F.2d at 1295. Simply naming a legal theory without indicating

how it is connected to the case will not withstand a motion to strike. Nat’l Acceptance Co. of

Amer. v. Regal Prods., 155 F.R.D. 631, 637 (E.D. Wis. 1994); Renalds v. S.R.G. Rest. Group

Chi., 119 F.Supp.2d 800, 803 (N.D. Ill. 2000) (collecting authorities).

       Ochsner has failed to articulate any bases whatsoever for these challenged defenses, and,

certainly, nothing can be gleaned from its Answer. Rule 8 requires notice in pleadings – not

facts, elements of causes of actions, or legal theories. Hefferman v. Bass, 467 F.3d 596, 600 (7th

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Cir. 2006). Defendant has failed to comply with Rule 8 because it has not given Plaintiff

sufficient notice. Its affirmative defenses are most accurately categorized as legal theories with

implied elements. Twombly, 127 S.Ct. at 1964-65 (plaintiff need not plead detailed factual

allegations but must provide more than labels and conclusions and recitation of elements of

causes of action).

       For these reasons, this Court should strike the affirmative defenses plead by Defendant

Ochsner Community Hospitals, improperly named as Ochsner Health System.

                                             Respectfully submitted,
                                             LAW OFFICE OF DALE EDWARD WILLIAMS

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                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing document has been served via the CM/ECF
system, which will send a notice of electronic filing to all counsel of record on this, the 1st day
of November 2010.

                                             /s/Dale E. Williams




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